                 Case 5:14-cv-00665-F Document 611-4 Filed 02/11/22 Page 1 of 2




From:                             Mithun Mansinghani <mithun.mansinghani@oag.ok.gov>
Sent:                             Tuesday, February 8, 2022 1:50 PM
To:                               Walker, Kenton
Cc:                               J Stronski; Harry Cohen; M Robles; Emma Rolls; Jennifer Moreno; Alex Kursman; Kim
                                  Stout; Lynne Leonard
Subject:                          RE: Stouffer and D. Grant Production


External Email

Kent,

Discovery in this case has long since closed. Nonetheless, we have attempted in good faith to timely produce materials
related to the recent executions.

You request production of “all materials” you list by February 11 and threaten a motion to compel if we don’t produce
them. To start at the end, you request materials from the Postelle execution, which is scheduled to take place on
February 17. We cannot produce records of an event expected to happen in the future and so respectfully decline your
demand we produce these documents by February 11.

You also request materials that will be generated by third parties over which Defendants have no control, namely,
materials from the Office of the Medical Examiner and the laboratory generating the toxicology report. As you know, we
provided you with the Medical Examiner Report for John Grant the same day it was signed and the same day we
received it, which was approximately three months after John Grant’s execution. While we did ask the Office of the
Medical Examiner for the materials you request when available, it has only been two months since Stouffer’s execution
and two weeks since Donald Grant’s execution. Accordingly, we cannot expect to have possession of these materials by
February 11, so we cannot agree to your demand that we produce documents not in our possession.

Finally, we will endeavor to produce records from the Donald Grant execution by February 11.

Thanks,

Mithun Mansinghani
Solicitor General

Oklahoma Office of the Attorney General
313 NE 21st Street, Oklahoma City, OK 73105
(405) 522‐4392 | Mithun.Mansinghani@oag.ok.gov




From: Walker, Kenton <KentWalker@crowell.com>
Sent: Monday, February 7, 2022 6:19 PM
To: Mithun Mansinghani <mithun.mansinghani@oag.ok.gov>
Cc: Stronski, James <JStronski@crowell.com>; Cohen, Harry <HCohen@crowell.com>; Robles, Michael
<mrobles@crowell.com>; Emma Rolls <emma_rolls@fd.org>; Jennifer Moreno <jennifer_moreno@fd.org>; Alex
Kursman <alex_kursman@fd.org>; Kim Stout <Kim_Stout@fd.org>; Lynne Leonard <Lynne_Leonard@fd.org>
Subject: [EXTERNAL] Stouffer and D. Grant Production

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                                                                            Ex. 4
              02/07/2022, 02/08/2022 E-mails between K. Walker and M. Mansinghani
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Mithun,

You have not responded to our email of 1/31/2021 requesting production of materials concerning the executions of
Bigler Stouffer and Donald Grant. There are outstanding documents and things that we will want to consider including as
trial exhibits and to use with our witnesses. Delay in producing these items any further will severely prejudice Plaintiffs’
case. We are hopeful that these items and documents can be produced without further delay or involvement of the
Court. Therefore, we request production of all materials by Friday, February 11th by close of business. Otherwise,
Plaintiffs will immediately file a motion to compel with the Court.

Specifically, we request the following:

1.        Stouffer
          •        Medical Examiner Report
          •        Toxicology Report
          •        Medical Examiner photographs

2.    D. Grant Medical Examiner Report
       •         Medical Examiner Report
       •         Toxicology Report
       •         Medical Examiner photographs
       •         Execution Logs
       •         All other documents from the execution (i.e. 35‐Day Packet, medical records, after‐execution review
documents, etc.)

3.    All documentation from the execution of Postelle, if it goes forward
       •         Medical Examiner Report
       •         Toxicology Report
       •         Medical Examiner photographs
       •         Execution Logs
       •         All other documents from the execution (i.e. 35‐Day Packet, medical records, after‐execution review
documents, etc.)

Your prompt attention to the matter and response are greatly appreciated.

Regards,
Kent


Kent M. Walker
Senior Counsel
kentwalker@crowell.com
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                                                                              Ex. 4
                02/07/2022, 02/08/2022 E-mails between K. Walker and M. Mansinghani
